Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 1 of 6   PageID #:
                                     334
Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 2 of 6   PageID #:
                                     335
Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 3 of 6   PageID #:
                                     336
Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 4 of 6   PageID #:
                                     337
Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 5 of 6   PageID #:
                                     338
Case 2:02-cr-00072-RLJ   Document 289 Filed 08/26/05   Page 6 of 6   PageID #:
                                     339
